






Opinion issued September 12, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00335-CV

____________


ROBERT H. DAVIS,  Appellant


V.


DAVID R. DREXEL,  Appellee






On Appeal from the Probate Court No. 4

Harris County, Texas

Trial Court Cause No. 302494






O P I N I O N

	On August 15, 2002, this Court ordered that unless appellant paid the $125
filing fee within 10 days of the date of the order, his appeal would be dismissed for
want of prosecution.

	The 10 days have expired and appellant has not paid the filing fee.  Therefore,
appellant's appeal is dismissed for want of prosecution.  See Tex. R. App. P. 5; 
42.3(b),(c).

PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Radack.

Do not publish.  Tex. R. App. P. 47.


